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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

FATMAH ALJAHMI,
    Plaintiff,
                                              Case No. 2:17-cv-13772-MOB-DRG
v.                                            Hon. Marianne O. Battani
                                              Mag. David R. Grand
ABILITY RECOVERY SERVICES, LLC,
     Defendant.
_________________________________________________________________

     PLAINTIFF’S RENEWED MOTION FOR DEFAULT JUDGMENT

      NOW COMES the Plaintiff, FATMAH ALJAHMI, by and through her

counsel, and moves for an entry of default judgment against Defendant and, in

support thereof, states as follows:

      Plaintiff relies upon the accompanying brief in support of her motion.

      WHEREFORE, Plaintiff requests this Court to enter default judgment in the

amount of $21,000 against Defendant, plus costs and attorney’s fees.           In the

alternative, Plaintiff requests this Court to enter default judgment against Defendant

and schedule an evidentiary hearing on the issue of damages.



                                 Respectfully submitted,

Dated: October 2, 2019           /s/ Gary D. Nitzkin
                                 GARY NITZKIN (P41155)
                                 CREDIT REPAIR LAWYERS OF AMERICA
                                 Attorneys for Plaintiff
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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

FATMAH ALJAHMI,
    Plaintiff,
                                         Case No. 2:17-cv-13772-MOB-DRG
v.                                       Hon. Marianne O. Battani
                                         Mag. David R. Grand
ABILITY RECOVERY SERVICES, LLC,
     Defendant.
__________________________________________________________________
____________

                     BRIEF IN SUPPORT OF
     PLAINTIFF’S RENEWED MOTION FOR DEFAULT JUDGMENT




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                           ISSUES PRESENTED

     Whether this Court should enter a default judgment against Defendant.




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                    MOST APPROPRIATE AUTHORITY

Fed. R. Civ. P. 55(b)(2)




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                            STATEMENT OF FACTS

      1.     Procedural Background

      Plaintiff filed the complaint for the above-captioned matter on November 21,

2017 and this Court issued a summons for Defendant on the same day. (Doc #1, 2.)

As a result of Defendant’s failure to timely answer or otherwise respond to the

complaint, Plaintiff requested this Court to enter default against Defendant on July

19, 2018. (Doc #10.) This Court entered default against Defendant on the same day.

(Doc #11.) Plaintiff served the request for default to Defendant on July 20, 2018.

(Doc #13.)

      Plaintiff filed a motion for default judgment against Defendant on December

13, 2018. (Doc #14.) On December 19, 2018, via text-only order, this Court ordered

Plaintiff to file a certificate of service of the motion for default judgment with the

complete mailing address of Defendant. The same day, Plaintiff filed a certificate

of service of the motion for default judgment, but inadvertently failed to include

Defendant’s mailing address. (Doc #17.) On September 10, 2019, this Court denied

Plaintiff’s motion for default judgment because Plaintiff’s proof of service was

insufficient. (Doc #18.) Plaintiff did not realize that she inadvertently failed to

include Defendant’s mailing address in the proof of service until this Court issued

its order denying Plaintiff’s motion for default judgment.

      Plaintiff now files her renewed motion for default judgment.


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      2.     Allegations in the Complaint

      Defendant is attempting to collect a consumer debt in the amount $1,273.00

allegedly owed to Penn Foster (“the alleged debt”). (Doc #1, ¶ 6.) On May 24,

2017, Plaintiff obtained her credit files and noticed that Defendant reported the

alleged debt. (Doc #1, ¶ 7.) On or about August 8, 2017, Plaintiff submitted a letter

to Defendant disputing the alleged debt. (Doc #1, ¶ 8.) As of the date of the

Complaint, Defendant has not responded to Plaintiff’s dispute letter. (Doc #1, ¶ 9.)

On November 2, 2017, Ms. Aljahmi obtained her Equifax and Trans Union credit

files and noticed that Defendant failed to flag the alleged Debt as disputed on both

credit files, in violation of the FDCPA. (Doc #1, ¶ 10.) Plaintiff has suffered

economic and emotional damages as a result of Defendant’s actions. (Doc #1, ¶ 16.)

                            STANDARD OF REVIEW

      The standard of review for motions for default judgment is well-established:

      Pursuant to Federal Rule of Civil Procedure 55(b) a judgment by
      default may be entered against a defendant who has failed to plead or
      otherwise defend against an action. In order to obtain judgment by
      default, the proponent must first request the clerk's entry of default
      pursuant to Rule 55(a). Once a default has been entered by the clerk's
      office, all of a plaintiff's well-pleaded allegations, except those relating
      to damages, are deemed admitted. Once a default is obtained, the party
      may then file for a default judgment by the clerk or by the court. FED.
      R. CIV. P. 55(b). If the plaintiff's well-pleaded allegations are
      sufficient to support a finding of liability as to the defendant on the
      asserted claims, then the Court should enter a judgment in favor of the
      plaintiff. Although Rule 55(b)(2) does not provide a standard to
      determine when a party is entitled to a judgment by default, the case
      law sets forth that the court must exercise “sound judicial discretion”

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      when determining whether to enter the judgment. After a court
      determines that a default judgment should be entered, it will determine
      the amount and character of the recovery awarded.

Jefferson v. United Car Co., Inc., No. 14-cv-13749, 2015 WL 7208160, at *2 (E.D.

Mich. June 11, 2015) (citations omitted).

                             LAW & ARGUMENT

      By virtue of Defendant’s default, the factual allegations in the complaint are

now deemed admitted. Jefferson, supra; see also Ford Motor Co. v. Cross, 441 F.

Supp. 2d 837, 848 (E.D. Mich. 2006) (“[w]hen a defendant is in default, the well

pleaded factual allegations in the Complaint, except those relating to damages, are

taken as true”).

      The Fair Debt Collection Practices Act (“FDCPA”) prohibits debt collectors

from using false representations or deceptive means to collect a debt. The standard

for determining whether a debt collector made misrepresentations that violate the

FDCPA is whether the “least sophisticated consumer” would be misled by the

representations.

      To determine whether conduct fits within the broad scope of the
      FDCPA, the conduct is viewed through the eyes of the “least
      sophisticated consumer.” This standard recognizes that the FDCPA
      protects the gullible and the shrewd alike while simultaneously
      presuming a basic level of reasonableness and understanding on the part
      of the debtor, thus preventing liability for bizarre or idiosyncratic
      interpretations of debt collection notices.




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Currier v. First Resolution Inv. Corp., 762 F.3d 529, 533 (6th Cir. 2014) (citation

omitted).

      Defendant violated the FDCPA. Plaintiff submitted a letter to Defendant

disputing the alleged debt. (Doc #1, ¶ 8.) However, Defendant never reported the

account as disputed, as evidenced in Plaintiff’s credit files with Equifax and Trans

Union approximately three months after Defendant received Plaintiff’s dispute

letter. (Doc #1, ¶ 10.) Therefore, Defendant violated 15 U.S.C. § 1692e(8) of the

FDCPA, which prohibits debt collectors from failing to communicate that a disputed

debt is disputed. 15 U.S.C. § 1692e(8).

      Plaintiff claims actual damages in the form of emotional distress as a result of

the Defendant’s violations of the FCRA. (Doc #1, ¶¶ 16, 21, 27.) Damages

recoverable under the FDCPA include emotional distress. McCollough v. Johnson,

Rodenberg & Launinger, LLC, 637 F.3d 939 (9th Cir. 2011). In McCollough, the

Ninth Circuit upheld an award of $250,000 for emotional distress damages awarded

for violations of the FDCPA. McCollough, 637 F.3d at 957-58. In another case, the

Ninth Circuit held that “[the plaintiff’s] testimony alone is enough to substantiate

the jury’s award of emotional distress damages.” Zhang v. Am. Gem Seafoods, Inc.,

339 F.3d 1020, 1040 (9th Cir. 2003) (upholding an award of emotional distress

damages of either $223,155 or $123,155). See also Green v. Nationwide Arb. Servs.,

LLC, No. 14-cv-14280, 2015 WL 7717165, at *2 (E.D. Mich. Nov. 30, 2015)


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(awarding the plaintiff $35,000 in emotional distress damages for FDCPA claim).

Plaintiff also claims statutory damages in the amount of $1,000 under the FDCPA.

15 U.S.C. § 1692k(a)(2)(A). Plaintiff also claims that Defendant willfully violated

the Michigan Occupational Code (“MOC”) and Michigan Collection Practices Act

(“MCPA”). (Doc #1, ¶¶ 22, 28.) Defendant’s willful violations of the MOC and

MCPA may result in an additional civil penalty of treble damages or $150,

whichever is greater, plus costs and attorney’s fees.       M.C.L. §§ 339.916(2);

445.257(2).

      Based on the foregoing, Plaintiff requests this Court to enter default judgment

in the amount of $5,000 for actual damages, $1,000 in statutory damages under the

FDCPA and $15,000 in statutory treble damages under the MOC and/or MCPA, for

a total of $21,000 in damages, plus costs and attorney’s fees that Plaintiff will seek

pursuant to Fed. R. Civ. P. 54(d). In the alternative, and pursuant to Fed. R. Civ. P.

55(b)(2)(B), Plaintiff requests this Court to schedule an evidentiary hearing as to

determine the amount of Plaintiff’s damages.

                                  CONCLUSION

      For the foregoing reasons, Plaintiff requests this Court to enter judgment

against Defendant in the amount of $21,000, plus costs and attorney’s fees. In the

alternative, Plaintiff requests this Court to schedule an evidentiary hearing as to

determine the amount of Plaintiff’s damages.


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                                  Respectfully submitted,

Dated: October 2, 2019            /s/ Gary D. Nitzkin
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                                   Proof of Service

        I, Gary D. Nitzkin, hereby state that on October 2, I served a copy of the

within pleading upon Defendant at 3 Abbot Ln. Dearborn, MI 48120 by first-class

mail.

                                  /s/ Gary D. Nitzkin




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